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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

    ARENDI S.A.R.L.,                                        )
                                                            )
                 Plaintiff,                                 )
                                                            )
    v.                                                      ) C.A. No. 12-1598-LPS
                                                            )
    SAMSUNG ELECTRONICS CO., LTD.,                          )
    SAMSUNG ELECTRONICS AMERICA, INC.                       )
    and SAMSUNG TELECOMMUNICATIONS                          )
    AMERICA, LLC,                                           )
                                                            )
                 Defendants.                                )
                                                            )

                        STIPULATION AND ORDER OF DISMISSAL

         It is hereby stipulated and agreed by and among Plaintiff Arendi S.A.R.L. (“Plaintiff”) and

Defendants Samsung Electronics Co., Ltd., Samsung Electronics America, Inc. and Samsung

Telecommunications America, LLC 1, (“Defendants”), by their attorneys of record, that:

         (1) Pursuant to Fed. R. Civ. P. 41(a), the present action is dismissed with prejudice.

         (2) Any protective orders entered by the Court shall remain in full force and effect

            notwithstanding the dismissal of this action.

         (3) Each party shall bear its own costs, attorneys’ fees, and expenses.




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 On January 1, 2015 Samsung Telecommunications America, LLC and Samsung Electronics
America, Inc. (“SEA”) merged, and the combined entity, SEA, is a wholly owned subsidiary of
Samsung Electronics Co., Ltd. See Supplemental Corporate Disclosure Statement of Samsung
Telecommunications America, LLC (D.I. 52).
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Dated: April 16, 2019

 SMITH, KATZENSTEIN & JENKINS, LLP            DRINKER BIDDLE & REATH LLP

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 Attorneys for Plaintiff                      Attorneys for Defendants




SO ORDERED this _______ day of April, 2019.


                                              _______________________________
                                              Hon. Leonard P. Stark
                                              United States District Judge




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